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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff-Respondent,

v.                                                       Case No. 05-80955-01

TERRY LEE FLENORY,                                       HONORABLE AVERN COHN

     Defendant-Petitioner.
___________________________________/


         ORDER DENYING MOTION FOR RECONSIDERATION (Doc. 1373)

                                              I.

       This is a motion to vacate sentence under 28 U.S.C. § 2255. Petitioner, Terry

Lee Flenory, proceeding pro se, contended that the 360 month sentence imposed on

him following his guilty plea to continuing criminal enterprise, in violation of 21 U.S.C. §

848, and conspiracy to launder money instructions, in violation of 18 U.S.C. § 1956(h),

was in violation of his constitutional rights. Specifically, Flenory argued that he was

deprived of his Sixth Amendment right to counsel at the trial and appellate level and that

the Supreme Court’s decision in United States v. Santos, 128 S.Ct. 2020 (2008),

holding that “proceeds” as used in the money laundering statute means “net profits”

rather than “receipts” of an illegal enterprise, entitled him to relief. The Court denied the

motion and declined to issue a certificate of appealability. (Doc. 1368).

       Before the Court is Flenory’s motion for reconsideration. For the reasons that

follow, the motion will be denied.

                                             II.
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       Local Rule 7.1(h) allows a party to file a motion for reconsideration. However, a

motion for reconsideration which presents the same issues already ruled upon by the

court, either expressly or by reasonable implication, will not be granted. Czajkowski v.

Tindall & Associates, P.C., 967 F. Supp. 951, 952 (E.D. Mich. 1997). The movant shall

not only demonstrate a palpable defect by which the court and the parties have been

misled, but also show that a different disposition of the case must result from a

correction of any such defect. E.D. Mich. LR 7.1(h)(3). A palpable defect is a defect

that is obvious, clear, unmistakable, manifest, or plain. Witzke v. Hiller, 972 F. Supp.

426, 427 (E.D. Mich. 1997).

       Flenory has failed to satisfy this standard. As noted in the order denying relief

under § 2255, Flenory filed a lengthy reply brief. (Doc. 1365). The reply brief appeared

to discuss other issues, including the federal government’s authority to bring changes

against him in the first place. Flenory’s motion for reconsideration is of the same order.

The motion is rambling and includes, among other things, long recitations relating to

The Federalist Papers and the Bill of Rights, particularly the Ninth and Tenth

Amendments to the Constitution. The Court can discern no cogent argument, much

less grounds for reconsideration. As explained in the September 27, 2011 order,

Flenory has not established that his counsel was ineffective or that he is otherwise

entitled to relief from his sentence. Accordingly, the motion is DENIED.

       SO ORDERED.


Dated: December 8, 2011                    S/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


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                                          Order Denying Motion for Reconsideration


                             CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to Terry Lee Flenory,
32454044, U.s. Penitentiary, Inmate Mail/Parcels, P.O. BOX 4050, Pollock, LA 71467
and the attorneys of record on this date, December 8, 2011, by electronic and/or
ordinary mail.

                                         S/Julie Owens
                                        Case Manager, (313) 234-5160




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